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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Rebecca Goodgame Ebinger
Case No. 4:19-cr-00172-RGE-HCA-2            : Clerk’s Court Minutes – Status Conference
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
UNITED STATES OF AMERICA                                   : RUBY KATHERINE MONTOYA
                                                           :
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Jason Griess


Defendant(s) Counsel: Angela Campbell

Court Reporter: Chelsey Wheeler                             :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
Def.'s Sealed Mot. Continue, ECF No. 158                                      GRANTED             :
Mot. Appear Pro Hac Vice, ECF No. 159                                          DENIED             :
                                                                                                  :
                                                                                                  :
_______________________________________________________________________________________________________________________________________

Proceedings:
Counsel for parties appear. Defendant appears. Court discusses procedural history of the matter. Defense counsel
addresses Court regarding pending motions. Court inquires as to the circumstances surrounding Daphne
Silverman's request to appear pro hac vice. Defense counsel argues in support of motion to continue sentencing.
Government does not resist. Court proceeds under seal. Court addresses parties in open court. Court grants
sealed motion to continue sentencing. Sentencing will be reset for September 1, 2021 at 9:00 a.m. Court denies
Daphne Silverman's Motion to Appear Pro Hac Vice. Court directs counsel to provide documentation regarding
qualifications of providers whose reports are filed ECF Nos. 146-1 and 146-2.




Time Start: 9:13 a.m.
Time End: 9:43 a.m.
Date: July 30, 2021                                                                       /s/ Shai D. Gonzales
                                                                                          __________________________
                                                                                          Deputy Clerk
